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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                  (Baltimore Division)

In re:                                          *

GLOBAL ENERGY SERVICES, LLC                     *       Case No. 21-17305-NVA
                                                        (Chapter 7)
                Debtor,                         *

*        *      *       *       *       *       *       *      *       *      *       *        *   *

ZVI GUTTMAN, CH. 7 TRUSTEE                      *

                Plaintiff,                      *       Adversary Proceeding No. 23-00201-NVA

v.                                              *

QFS CAPITAL, LLC                                *

                Defendant.                      *

*        *      *       *       *       *       *       *      *       *      *       *        *   *

             STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT

         It is hereby stipulated and agreed by counsel for the Plaintiff and counsel for the

Defendant QFS Capital, LLC (“Defendant”), that the current deadline for the Defendant to file

an answer or other response to the Complaint for Declaratory Relief; for Recovery of Fraudulent

Transfers Pursuant to 11 U.S.C. §§ 544 and 548; for Recovery of Preferential Transfers Pursuant
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to 11 U.S.C. § 547; and for Turnover of Property Pursuant to 11 U.S.C. § 542 (Doc. # 1) be

extended to October 18, 2023.


Dated: September 19, 2023


 FUNK & BOLTON, P.A.                                   COON & COLE, LLC

 By: /s/ Eric S. Schuster                              By: /s/ Marc E. Shach
 Eric S. Schuster, Federal Bar No. 03417               Marc E. Shach, Federal Bar # 06788
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 Counsel for QFS Capital, LLC                          410-244-8800 –Phone
                                                       410-244-5941 – Fax
                                                       Counsel for the Plaintiff



                                  CERTIFICATE OF CONSENT

         I certify that the terms of the copy of the proposed stipulation submitted to the Court are

identical to those set forth in the original, and that the signatures represented by the /s/ on this

copy reference the signatures of the consenting parties on the original.


                                                /s/ Eric S. Schuster
                                                Eric S. Schuster
20279.001:232442




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